                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
 FS MEDICAL SUPPLIES, LLC,

        Plaintiff,
 v.
                                                       Civil Action No.
 TANNERGAP, INC. et al.,
                                                   3:21-CV-501-RJC-WCM
        Defendants.



       NOTICE OF ADDITIONAL INFORMATION IN SUPPORT OF
        PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF
         ESI FROM JONATHAN BRACEY’S MOBILE PHONE
       Plaintiff, FS Medical Supplies, LLC (“FSMS”), respectfully submits this
Notice of Additional Information in further support of FSMS’s motion to compel
production of ESI from Jonathan Bracey’s mobile phone (ECF 174).
       1.     One of Defendants’ reasons for refusing to produce ESI from executive
Jonathan Bracey’s cell phone was purported confidentiality concerns lodged by Mr.

Bracey. The September 24, 2024 deposition of Mr. Bracey showed that Defendant
TPUK has overstated Mr. Bracey’s confidentiality concerns.
       2.     During the deposition, counsel questioned Mr. Bracey about his

willingness to submit his phone for forensic imaging. Mr. Bracey testified that he
does not want his non-work data saved on a computer. But providing his work-related
data was not off limits, as shown by his off-the-cuff offer to allow the attorney to
review the data:



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 Q. If your counsel could ensure that no materials on your phone that are
 unrelated to your work at Tanner are provided to us in discovery, is that

 something that you would object to?

 A. If everything was just related to the emails and WhatsApp and text
 messages on -- between me and Tanner, then that’s fine. You can look
 at them now, if you want.

 Q. So you would not have any problem if your counsel electronically
 collected text messages and emails from your device, provided that they
 committed not to turn over to us any records that they’d collected that
 are unrelated to your work at Tanner?

 A. Yeah.

 Q. Okay. If it were possible to, at the point of collection, collect only
 the emails and text messages related to your work at Tanner, is that
 something that you would be okay with?

 A. Yes.

 Q. And if, in order to do that, to make the distinction between emails
 and text messages that are related to your work at Tanner and those that
 are not, your device had to be hooked up to a computer to assist that
 process, is that something that you would object to?




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       A. Well, it depends what the computer was going to do with everything
       else that was on my phone. If it stays on my phone and doesn't go

       anywhere, then that’s fine. But if everything from my phone ends up on
       a computer, then that's not fine.

See Excerpt of J. Bracey Deposition Transcript (Ex. A).
       3.      For the reasons set forth in Plaintiff’s motion to compel, Mr. Bracey’s
purported privacy interests do not relieve Defendants of their obligation to collect
and produce responsive, company-owned data on the mobile phone of a senior
executive who played a central role in the events that are the subject of this lawsuit.
Nor do those interests absolve Defendants’ undenied and undeniable violations of the
parties’ ESI protocol, which have forced Plaintiff’s counsel to spend dozens of hours
and many thousands of dollars trying to bring Defendants into compliance with their

obligations.
       4.      Notwithstanding the pending motion and Defendants’ behavior,
Plaintiff was committed to finding a solution that might accommodate Mr. Bracey’s
purported concerns and spare the Court from resolving this dispute. To that end, after
Mr. Bracey’s deposition, Plaintiff asked a digital forensics firm whether work-related
messages could be collected from Mr. Bracey’s phone using a procedure that ensured

“everything from [his] phone” did not “end up” on a computer, in accordance with
Mr. Bracey’s wishes. As set forth in the attached declaration, such a procedure is
possible. See Declaration of T. Kiefer (Ex. B). Using this specially tailored process,

the mobile phone is connected to a computer in the presence of the custodian and a



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complete image of the phone is written to an encrypted external hard drive. Id. ¶ 7.
While the extraction is housed on the encrypted external drive, a computerized search

is run to isolate communications to or from a defined list of persons (i.e., certain work
colleagues) from a defined period of time. Id. The targeted data (and only the targeted
data) indentified by this search is then written to a second encrypted external drive.
Id. ¶ 8. Both drives are unplugged from the computer; the first containing the full
image of the phone is permanently deleted (or provided to the custodian at his
election) and the second drive containing only the targeted data is retained by the
technician for processing. Id. ¶ 9.
       5.     On October 4, 2024, Plaintiff shared Mr. Kiefer’s declaration with
Defendants and asked that they reconsider their refusal to properly collect and search
Mr. Bracey’s ESI in light of an available procedure that would accommodate Mr.
Bracey’s concerns. See 10.4.2024 Letter from E. Puig to Defendants’ Counsel (Ex.
C). Defendants refused the request.

This the 9th day of October, 2024.




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 /s/ Kent A. Yalowitz                         /s/ Lex M. Erwin
Kent A. Yalowitz (admitted pro hac vice)     Lex M. Erwin
N.Y. State Bar No. 2188944                   N.C. State Bar No. 34619
Carmela T. Romeo (admitted pro hac vice)     David A. Luzum
N.Y. State Bar No. 5058151                   N.C. State Bar No. 41398
ARNOLD & PORTER                              Kevin Y. Zhao
  KAYE SCHOLER LLP                           N.C. State Bar No. 53680
250 W 55th Street                            MAYNARD NEXSEN PC
New York, NY 10019                           227 W. Trade Street, Suite 2300
212-836-8000                                 Charlotte, NC 28202
kent.yalowitz@arnoldporter.com               Telephone: (704) 339-0304
carmela.romeo@arnoldporter.com               Facsimile: (704) 338-5377
                                             lerwin@maynardnexsen.com
 – and –                                     dluzum@maynardnexsen.com
                                             kzhao@maynardnexsen.com
Eliseo R. Puig (admitted pro hac vice)
Colorado State Bar No. 49022                 Counsel for Plaintiff
ARNOLD & PORTER
  KAYE SCHOLER LLP
1144 Fifteenth Street, Suite 3100
Denver, CO 80202
303-863-1000
eliseo.puig@arnoldporter.com




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